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                      UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF DELAWARE


In re:                                                    Chapter 11

Hardinge Ventures LLC,                                    Case No. 24-11602

                                     Debtor.
Tax I.D. No. XX-XXXXXXX

In re:                                                    Chapter 11

Ohio Tool Works, LLC,                                     Case No. 24-11603

                                     Debtor.
Tax I.D. No. XX-XXXXXXX

In re:                                                    Chapter 11

Kellenberger Swiss Grinding Machines, LLC,                Case No. 24-11604

                                     Debtor.
Tax I.D. No. N/A

In re:                                                    Chapter 11

Hardinge Inc.,                                            Case No. 24-11605

                                     Debtor.
Tax I.D. No. XX-XXXXXXX

In re:                                                    Chapter 11

Hardinge Technology Systems, Inc.,                        Case No. 24-11606

                                     Debtor.
Tax I.D. No. XX-XXXXXXX
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    In re:                                                                Chapter 11

    Forkardt Inc.,                                                        Case No. 24-11607

                                              Debtor.
    Tax I.D. No. XX-XXXXXXX

    In re:                                                                Chapter 11

    Hardinge Grinding Group Inc.,                                         Case No. 24-11608

                                              Debtor.
    Tax I.D. No. XX-XXXXXXX

                      DEBTORS’ MOTION FOR ENTRY OF
                AN ORDER (I) DIRECTING JOINT ADMINISTRATION
        OF RELATED CHAPTER 11 CASES AND (II) GRANTING RELATED RELIEF

             Hardinge Inc. and its affiliated debtors and debtors in possession (each, a “Debtor” and

collectively, the “Debtors”) in the above-captioned chapter 11 cases, by and through their

undersigned proposed counsel, hereby submit this motion (this “Motion”) for entry of an order

granting the relief described below. In support hereof, the Debtors rely on the Declaration of

Adrian Frankum, Chief Restructuring Officer of the Debtors, in Support of Debtors’ Chapter 11

Petitions and First Day Motions (the “First Day Declaration”) 1 filed concurrently herewith, and

further represent as follows:

                                      JURISDICTION AND VENUE

             1.      The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction to consider this Motion under 28 U.S.C. §§ 157 and 1334 and the Amended Standing




1
      Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the First
      Day Declaration.



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Order of Reference from the United States District Court for the District of Delaware dated

February 29, 2012.

       2.      Pursuant to Rule 9013-1(f) of the Local Rules of Bankruptcy Practice and

Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local Rules”),

the Debtors confirm their consent to the entry of a final order by this Court in connection with this

Motion to the extent that it is later determined that this Court, absent consent of the parties, cannot

enter final orders or judgments in connection herewith consistent with Article III of the United

States Constitution.

       3.      This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue of these chapter

11 cases and this Motion is proper in this district under 28 U.S.C. §§ 1408 and 1409.

       4.      The statutory basis for the relief requested herein is section 105(a) of title 11 of the

United States Code, as amended (the “Bankruptcy Code”). The relief is also appropriate in

accordance with Rule 1015(b) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”) and Local Rule 1015-1.

                                      RELIEF REQUESTED

       5.      The Debtors respectfully request entry of an order directing the joint administration

of these chapter 11 cases for procedural purposes only and granting related relief.

       6.      In furtherance of the foregoing, the Debtors request that the official caption to be

used by all parties in all papers in the jointly administered cases be as follows:




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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF DELAWARE


      In re:                                                          Chapter 11

      Hardinge Inc.., et al.,1                                        Case No. 24-11605 ([___])

                                              Debtors.                (Jointly Administered)



  1
        The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
        identification number are: Hardinge Ventures LLC (0586); Ohio Tool Works, LLC (7569); Kellenberger
        Swiss Grinding Machines, LLC (N/A); Hardinge Inc. (0200); Hardinge Technology Systems, Inc. (6427);
        Forkardt Inc. (4671); and Hardinge Grinding Group Inc. (6173). The Debtors’ service address is One
        Hardinge Drive, Elmira, NY 14902-1507.



          7.      The Debtors further request that this Court order that the foregoing caption satisfies

the requirements set forth in section 342(c)(1) of the Bankruptcy Code.

          8.      Finally, the Debtors respectfully request that the Court make a separate docket entry

on the docket of each of these chapter 11 cases, other than Hardinge Inc., to reflect joint

administration of these chapter 11 cases:

                   An order has been entered in accordance with Rule 1015(b) of the
                   Federal Rules of Bankruptcy Procedure and Rule 1015-1 of the
                   Local Rules of Bankruptcy Practice and Procedure of the United
                   States Bankruptcy Court for the District of Delaware directing joint
                   administration for procedural purposes only of the chapter 11 cases
                   of: Hardinge Ventures LLC, Case No. 24-11602; Ohio Tool Works,
                   LLC, Case No. 24-11603; Kellenberger Swiss Grinding Machines,
                   LLC, Case No. 24-11604; Hardinge Inc., Case No. 24-11605;
                   Hardinge Technology Systems, Inc., Case No. 24-11606; Forkardt
                   Inc., Case No. 24-11607; and Hardinge Grinding Group Inc., Case
                   No. 24-11608. All further pleadings and other papers shall be
                   filed in and all further docket entries shall be made in Case No.
                   24-11605 (___).




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                                          BACKGROUND

       9.      On July 29, 2024 (the “Petition Date”), each Debtor filed a voluntary petition for

relief pursuant to chapter 11 of the Bankruptcy Code.

       10.     The Debtors are operating their businesses and managing their properties as debtors

in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

       11.     No request for the appointment of a trustee or examiner has been made in these

chapter 11 cases, and no official committee of unsecured creditors has been appointed in these

chapter 11 cases.

       12.     Hardinge Inc., together with the other Debtors and its non-debtor direct and indirect

subsidiaries (the “Company”), is a global leader in the design, manufacture and distribution of

precise, advanced metal-cutting machine tool solutions. With locations spanning the globe,

including the United States, England, France, Germany, Switzerland, China, and India, the

Company is able to service customers worldwide. Through the twelve brands operated under the

Company’s umbrella, including Kellenberger®, Hardinge®, Buck Chuck®, Forkardt® and Ohio

Tool Works®, the Company engineers and supplies computer controlled metalcutting turning

machines, grinding machines, machining centers, collets, chucks, index fixtures, repair parts for

machines, and other industrial products. The Company also provides post-sale support services

and maintenance training, in-field maintenance, and in-field repair.

       13.     Additional factual background regarding the Debtors, including their business

operations, their corporate and capital structure, and the events leading to the filing of these chapter

11 cases, is set forth in detail in the First Day Declaration, filed concurrently herewith and

incorporated herein by reference.




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                                      BASIS FOR RELIEF

       14.     Bankruptcy Rule 1015(b) provides, in pertinent part, that “[i]f . . . two or more

petitions are pending in the same court by or against . . . a debtor and an affiliate, the court may

order a joint administration of the estates.” Fed. R. Bankr. P. 1015. The Debtor entities are

“affiliates” as that term is defined in section 101(2) of the Bankruptcy Code. Section 105(a) of the

Bankruptcy Code empowers the Court to “issue any order, process, or judgment that is necessary or

appropriate to carry out the provisions of [the Bankruptcy Code].”             11 U.S.C. § 105(a).

Accordingly, the Bankruptcy Code and Bankruptcy Rules authorize the Court to grant the relief

requested herein.

       15.     Further, Local Rule 1015-1 provides additional authority for the Court to order joint

administration of these chapter 11 cases:

               An order of joint administration may be entered, without notice and an
               opportunity for hearing, upon the filing of a motion for joint
               administration pursuant to Fed. R. Bankr. P. 1015, supported by an
               affidavit, declaration or verification, which establishes that the joint
               administration of two or more cases pending in this Court under title
               11 is warranted and will ease the administrative burden for the Court
               and the parties. An order of joint administration entered in accordance
               with this Local Rule may be reconsidered upon motion of any party in
               interest at any time. An order of joint administration under this Local
               Rule is for procedural purposes only and shall not cause a “substantive”
               consolidation of the respective debtors’ estates.

Del. Bankr. L.R. 1015-1.

       16.     Given the integrated nature of the Debtors’ operations, joint administration of these

chapter 11 cases will provide significant administrative convenience without harming the

substantive rights of any party in interest. Many of the motions, hearings, and orders in these

chapter 11 cases will affect each Debtor entity. The entry of an order directing joint administration

of these chapter 11 cases will reduce fees and costs by avoiding duplicative filings and objections.

Joint administration also will allow the United States Trustee for the District of Delaware (the


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“U.S. Trustee”) and all parties in interest to monitor these chapter 11 cases with greater ease and

efficiency.

        17.     Moreover, joint administration will not adversely affect the Debtors’ respective

constituencies because this Motion seeks only administrative, not substantive, consolidation of the

Debtors’ estates. Parties in interest will not be harmed by the relief requested; instead, parties in

interest will benefit from the cost reductions associated with the joint administration of these

chapter 11 cases. Accordingly, the Debtors submit that the joint administration of these chapter

11 cases is in the best interests of their estates, their creditors, and all other parties in interest.

                                                NOTICE

        18.     The Debtors will provide notice of this Motion to: (a) United States Trustee for the

District of Delaware; (b) the United States Attorney’s Office for the District of Delaware; (c) the

state attorneys general for all states in which the Debtors conduct business; (d) the Internal

Revenue Service; (e) the United States Securities and Exchange Commission; (f) the holders of

the thirty (30) largest unsecured claims against the Debtors on a consolidated basis; (g) counsel to

the DIP Agent and DIP Lenders; (h) counsel to Privet; (i) counsel to the Prepetition Agent; and (j)

any party that has requested notice pursuant to Bankruptcy Rule 2002. The Debtors respectfully

submit that, in light of the nature of the relief requested, no further notice is necessary.

                                            CONCLUSION

        WHEREFORE, the Debtors respectfully request that this Court enter the Order

substantially in the form annexed hereto as Exhibit A, granting the relief requested herein and

such other and further relief as may be just and proper.




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Dated: Wilmington, Delaware
       July 29, 2024

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                     EXHIBIT A

                       Order
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                      UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF DELAWARE


In re:                                                     Chapter 11

Hardinge Ventures LLC,                                     Case No. 24-11602

                                     Debtor.
Tax I.D. No. XX-XXXXXXX

In re:                                                     Chapter 11

Ohio Tool Works, LLC,                                      Case No. 24-11603

                                     Debtor.
Tax I.D. No. XX-XXXXXXX

In re:                                                     Chapter 11

Kellenberger Swiss Grinding Machines, LLC,                 Case No. 24-11604

                                     Debtor.
Tax I.D. No. N/A

In re:                                                     Chapter 11

Hardinge Inc.,                                             Case No. 24-11605

                                     Debtor.
Tax I.D. No. XX-XXXXXXX

In re:                                                     Chapter 11

Hardinge Technology Systems, Inc.,                         Case No. 24-11606

                                     Debtor.
Tax I.D. No. XX-XXXXXXX
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    In re:                                                              Chapter 11

    Forkardt Inc.,                                                      Case No. 24-11607

                                             Debtor.
    Tax I.D. No. XX-XXXXXXX

    In re:                                                              Chapter 11

    Hardinge Grinding Group Inc.,                                       Case No. 24-11608

                                             Debtor.
    Tax I.D. No. XX-XXXXXXX

                   ORDER (I) DIRECTING JOINT ADMINISTRATION OF
             RELATED CHAPTER 11 CASES AND (II) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”) 1 of the Debtors for an order (this “Order”) directing joint

administration of these cases for procedural purposes only and granting related relief, all as more

fully set forth in the Motion; and upon consideration of the First Day Declaration; and this Court

having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended

Standing Order of Reference from the United States District Court for the District of Delaware

dated February 29, 2012; and this Court having found that this is a core proceeding pursuant to

28 U.S.C. § 157(b)(2); and this Court having found that venue of these cases and this proceeding

is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409; and after due deliberation thereon

and sufficient cause appearing therefor,

             IT IS HEREBY ORDERED THAT:

             1.      The Motion is granted, as set forth herein.




1
      Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in
      the Motion.



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       2.           Each of the above-captioned chapter 11 cases is consolidated for procedural

purposes only and shall be jointly administered by the Court under Case No. 24-11605.

       3.           The caption of the jointly administered cases shall read as follows:


                                   UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF DELAWARE


           In re:                                                          Chapter 11

           Hardinge Inc.., et al.,1                                        Case No. 24-11605 ([___])

                                                   Debtors.                (Jointly Administered)



       1
             The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
             identification number are: Hardinge Ventures LLC (0586); Ohio Tool Works, LLC (7569); Kellenberger
             Swiss Grinding Machines, LLC (N/A); Hardinge Inc. (0200); Hardinge Technology Systems, Inc. (6427);
             Forkardt Inc. (4671); and Hardinge Grinding Group Inc. (6173). The Debtors’ service address is One
             Hardinge Drive, Elmira, NY 14902-1507.



       4.           The foregoing caption shall satisfy the requirements of section 342(c)(1) of the

Bankruptcy Code.

       5.           The Clerk of the Court shall make a docket entry in each Debtor’s chapter 11 case

(except that of Hardinge Inc.) substantially as follows:

                    An order has been entered in accordance with Rule 1015(b) of the
                    Federal Rules of Bankruptcy Procedure and Rule 1015-1 of the
                    Local Rules of Bankruptcy Practice and Procedure of the United
                    States Bankruptcy Court for the District of Delaware directing joint
                    administration for procedural purposes only of the chapter 11 cases
                    of: Hardinge Ventures LLC, Case No. 24-11602; Ohio Tool Works,
                    LLC, Case No. 24-11603; Kellenberger Swiss Grinding Machines,
                    LLC, Case No. 24-11604; Hardinge Inc., Case No. 24-11605;
                    Hardinge Technology Systems, Inc., Case No. 24-11606; Forkardt
                    Inc., Case No. 24-11607; and Hardinge Grinding Group Inc., Case
                    No. 24-11608. All further pleadings and other papers shall be
                    filed in and all further docket entries shall be made in Case No.
                    24-11605 (___).


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       6.      The Debtors shall maintain, and the Clerk of the United States Bankruptcy Court

for the District of Delaware shall keep, one consolidated docket, one file, and one consolidated

service list for these chapter 11 cases.

       7.      Nothing in the Motion or this Order shall be deemed or construed as directing or

otherwise effecting a substantive consolidation of these chapter 11 cases and this Order shall be

without prejudice to the rights of the Debtors to seek entry of an Order substantively consolidating

their respective cases.

       8.      The Debtors are authorized and empowered to take all actions necessary to

effectuate the relief granted pursuant to this Order in accordance with the Motion.

       9.      This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation, interpretation, and enforcement of this Order.




                                                   4
